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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-287 (TNM)
               v.                             :
                                              :
KEVIN SEEFRIED                                :
                                              :
                       Defendant.             :


                JOINT STATUS REPORT PURSUANT TO THE COURT’S
                            MARCH 21, 2023 ORDER

       Defendant Kevin Seefried moved the Court for release pending appeal pursuant to 18

U.S.C. §§ 3141(b) and 3143(b) and Fed. R. Crim. P. 46(c) & 38(b)(1). This Court granted his

Motion in part and ordered that “within 14 days of the D.C. Circuit’s decision in Miller, advising

the Court as to the parties’ positions on the Motion for Release in light of the Circuit’s ruling in

Miller.” ECF. No. 151 at 3. The Court further ordered the parties to address the defendant’s report

date in the joint-status report. ECF. No. 151. The United States Court of Appeals for the District

of Columbia issued an opinion in U.S. v. Fischer (consolidated with Miller) on April 4, 2023. See

United States v. Fischer, No. 22-3038, __ F.4th __, 2023 WL 2817988 (D.C. Cir. Apr. 7, 2023).

Accordingly, the parties submit their respective positions.

                                  DEFENDANT’S POSITION

       The defendant’s position is unchanged. That is, substantial questions exist about whether

(1) as a legal matter, 18 U.S.C. §1512(c)(2) applies to his conduct and (2) there was sufficient

evidence that he acted “corruptly.” The Circuit’s opinion far from resolved these questions. It is

fractured among lead opinion, concurrence, and dissent. As to the latter question, Judge Walker in

his concurrence disagreed with the lead opinion that the Court need not define “corruptly” and that

“corruptly” requires that a defendant act with an “intent to procure an unlawful benefit” with a
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requisite knowledge of unlawfulness. Judge Katsas in dissent agreed with Judge Nichols that the

1512 is concerned with the “acts that affect the integrity and availability of evidence” and not the

conduct alleged against January 6 defendants. Dissenting Op. at *38.

       In light of the fractured opinion, defendants in Fischer are appealing to an en banc panel.

Therefore, for the reasons stated in Mr. Seefried’s Motion for Release Pending Appeal, ECF. No.

146, he respectfully moves the Court to maintain his release conditions until such time that the

issues raised in United States v. Fischer are finally resolved.

                                  GOVERNMENT’S POSITION

       In United States v. Fischer, No. 22-3038, __ F.4th __, 2023 WL 2817988 (D.C. Cir. Apr.

7, 2023), the D.C. Circuit held that 18 U.S.C. § 1512(c)(2) “encompasses all forms of obstructive

conduct, including . . . efforts to stop Congress from certifying the results of the 2020 presidential

election.” Id. at *3. The court explained that “the meaning of the statute is unambiguous . . .

§ 1512(c)(2) applies to all forms of corrupt obstruction of an official proceeding, other than the

conduct that is already covered by § 1512(c)(1).” Id. at *4. This “broad interpretation of the statute

— encompassing all forms of obstructive acts — is unambiguous and natural, as confirmed by the

‘ordinary, contemporary, common meaning’ of the provision’s text and structure.” Id. at *5

(quoting Perrin v. United States, 444 U.S. 37, 42 (1979)). This portion of the opinion was authored

by Judge Pan and joined by Judge Walker, and thus constitutes Fischer’s binding holding.

       Fischer’s holding regarding the type of obstructive acts that may satisfy § 1512(c)(2) does

not resolve the scope of that statute’s separate mens rea requirement—specifically, the meaning

of the word “corruptly” as it is used in § 1512(c). That issue is pending before the D.C. Circuit in

a different case, United States v. Robertson, No. 22-3062, which is scheduled to be argued on May

11, 2023.
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        As explained in both the majority and dissenting opinions in Fischer, the definition of

“corruptly” was not squarely presented in that case and therefore was not resolved. See 2023 WL

2817988, at *7 (opinion of Pan, J.) (“expressing [no] preference for any particular definition of

‘corruptly’” because “the allegations against appellees appear to be sufficient to meet any proposed

definition of ‘corrupt’ intent); id. at *8 (noting that the dissent also “declines to settle on a precise

meaning of ‘corruptly’ at this time” and thus “share[s] much common ground” with Judge Pan’s

opinion “on the issue of mens rea”); Id. at *42-*43 (Katsas, J., dissenting) (surveying possible

definitions of “corruptly” but declining to adopt any particular one). Although Judge Walker would

have determined that “corruptly” means “a criminal intent to procure an unlawful benefit,” id. at

*22 (Walker, J., concurring), the resolution of that mens rea issue was not necessary to the court’s

holding concerning the actus reus of the offense—which Judge Walker joined—and his views on

the meaning of “corruptly” were not adopted by the other judges on the panel.

        Accordingly, there is no reason for this Court to turn to United States v. Marks, 430 U.S.

188 (1977), for guidance on how to interpret Fischer’s holding. In Marks, the Supreme Court held

that, “[w]hen a fragmented Court decides a case and no single rationale explaining the result enjoys

the assent of five Justices, ‘the holding of the Court may be viewed as that position taken by those

Members who concurred in the judgments on the narrowest grounds[.]’” 430 U.S. at 193 (quoting

Gregg v. Georgia, 428 U.S. 153, 169 n.15 (1976) (plurality op.)). Marks is inapposite for a number

of reasons.

        First, there is a “single rational explaining the result” in Fischer that a majority of the court

adopted: all but Section I.C.1 (declining to interpret “corruptly”) and footnote 8 of Judge Pan’s

majority opinion. That opinion held in Section I.A that § 1512(c)(2) was “unambiguous”: it

“applies to all forms of corrupt obstruction of an official proceeding, other than the conduct that is
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already covered by § 1512(c)(1).” Fischer, 2023 WL 2817988, at *4. Thus, unlike the situation

described in Marks—where more than five Justices agreed on a result, but no five Justices agreed

on a rationale—here, a majority of the court did agree on a rationale explaining the result:

§ 1512(c)(2)’s unambiguous statutory text. Thus, Marks has no applicability.

       In this respect, the Fischer majority opinion is like those that have commanded a five-

Justice majority in the Supreme Court, with one Justice writing a concurring opinion explaining

his or her disagreement with aspects of the majority opinion but joining it anyway. See, e.g., AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 352-53 (2011) (Thomas, J., concurring); Arizona v.

Gant, 556 U.S. 332, 354 (2009) (Scalia, J., concurring); U.S. Airways, Inc. v. Barnett, 535 U.S.

391, 408 (2002) (O’Connor, J, concurring). In such a case, it is the majority opinion that controls,

and Marks has no applicability. See Richard M. Re, Beyond the Marks Rule, 132 Harv. L. Rev.

1942, 2001-02 nn.311, 322 (2019) (noting that appellate courts have never applied the Marks rule

to Concepcion and Gant). Here, Judge Walker joined the portion of Judge Pan’s opinion holding

that § 1512(c)(2) encompasses all forms of obstructive conduct. That is Fischer’s clear holding.

The fact that Judge Walker’s understanding of the statute’s mens rea requirement informed his

decision to join the majority opinion does not make that understanding a holding of the court.

       Second, any discussion of § 1512(c)(2)’s mens rea requirement in Fischer is necessarily

dicta. In that case, the district court dismissed the indictments’ § 1512(c)(2) counts, finding that

they failed to state a claim because they “d[id] not allege that they violated § 1512(c)(2) by

committing obstructive acts related to ‘a document, record, or other object[.]’” Fischer, 2023 WL

2817988, at *3. In reversing that dismissal, the court of appeals had no occasion to interpret the

meaning of the word “corruptly” as it is used in § 1512(c). An indictment is sufficient if it “contains

the elements of the offense charged and fairly informs a defendant of the charge against which he
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must defend,” Hamling v. United States, 418 U.S. 87, 117 (1974), which may be accomplished by

“echo[ing] the operative statutory text while also specifying the time and place of the offense.”

United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018). The indictments at issue in

Fischer all alleged that the defendants acted “corruptly,” as the statute requires. See Fischer, 2023

WL 2817988, at *2. Any dispute about the meaning of that term could have no bearing on the

sufficiency of the indictment for purposes of a motion to dismiss.

       Third, as both Judge Pan and Judge Walker recognized, the D.C. Circuit has never applied

Marks to its own cases. See Fischer, 2023 WL 2817988, at *8 n.5; id. at *27 n.10 (Walker, J.,

concurring). Indeed, “only one federal appellate court has done so.” Id. at *8 n.5 (citing Binderup

v. U.S. Att’y Gen., 836 F.3d 336, 356 (3d Cir. 2016) (en banc)). Insofar as this Court “needs some

rule to decide the holding” of Fischer, 2023 WL 2817988, at *27 n.10 (Walker, J., concurring),

that rule is apparent: it should follow the parts of the opinion agreed upon by a majority of the

panel, as it would with any other opinion. As discussed above, that holding is clear: § 1512(c)(2)’s

plain language encompasses all forms of obstructive conduct.

       Fourth, even were this Court to apply a Marks analysis to Fischer, it would not require the

Court to adopt Judge Walker’s view of the meaning of “corruptly” as it is used in § 1512(c)(2). In

King v. Palmer, the en banc D.C. Circuit held that “Marks is workable—one opinion can be

meaningfully regarded as ‘narrower’ than another—only when one opinion is a logical subset of

other, broader opinions. In essence, the narrowest opinion must represent a common denominator

of the Court’s reasoning; it must embody a position implicitly approved by at least five Justices

who support the judgment.” 950 F.2d 771, 781 (D.C. Cir. 1991) (en banc); see generally Beyond

the Marks Rule, supra, at 1994-95 (noting that the D.C. Circuit has adopted a narrower reading of

Marks than other courts of appeals). But Judge Walker’s reading of “corruptly” does not “embody
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a position implicitly approved by at least [two judges] who support the judgment”; to the contrary,

a “majority of the panel . . . expressly declined to endorse the concurrence’s definition of

‘corruptly.’” Fischer, 2023 WL 2817988, at *8 n.5. Moreover, Judge Walker’s definition was “not

one with which [the majority] opinion ‘must necessarily agree as a logical consequence of its

own, broader position’ because [the majority] opinion t[ook] no position on the exact meaning of

‘corruptly.’” Id. (quoting King, 950 F.2d at 782). Indeed, insofar as Judge Walker pitched his

opinion as “narrower” than Judge Pan’s because he “read[s] [§ 1512](c)(2) to cover only some of

the conceivable defendants the lead opinion might allow a court to convict,” Fischer, 2023 WL

2817988, at *27 n.10 (Walker, J., concurring), that assertion again highlights the fact that any

discussion of the meaning of the term “corruptly” in Fischer is dicta. The question on appeal in

that case was whether the indictments at issue properly alleged an offense under § 1512(c)(2).

Answering that question did not require the court to delineate the world of “conceivable

defendants” that could be convicted under the statute. Indeed, attempting to do so would be entirely

inappropriate at the motion to dismiss stage, which merely evaluated whether “the indictment

fairly informed [the defendant] of the charge against him[.]” Williamson, 903 F.3d at 132.

       There can be no doubt about Fischer’s clear holding: § 1512(c)(2) “encompasses all forms

of obstructive conduct, including . . . efforts to stop Congress from certifying the results of the

2020 presidential election.” 2023 WL 2817988, at *3. That holding is binding on this Court. The

discussion in Judge Walker’s concurring opinion about the meaning of “corruptly” as it is used in

§ 1512(c)(2) is not.

       Here, based on the aforementioned law and analysis, the government contends that

§ 1512(c)(2) applies to the conduct of Kevin Seefried on January 6, 2021. Because this issue has

been resolved by the Court, there is no reason why Seefried should not be ordered to report to the
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Bureau of Prisons to serve his 36-month sentence. Seefried has requested that he be allowed to

report to the Bureau of Prisons a date after April 30, 2023, so that he can attend his grandson’s

birthday. (ECF No. 147). The government did not object to this request. (ECF No. 149). The

government requests that Seefried be ordered to self-surrender to his designated BOP facility to

begin serving his sentence on May 29, 2023.

                                              Respectfully Submitted,

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